      Case 4:07-cv-05944-JST Document 6022 Filed 06/14/22 Page 1 of 1




                                       June 14, 2022
VIA ECF

Hon. Jon S. Tigar
United States District Court for the
Northern District of California
Oakland Courthouse, Courtroom 6, 2nd Floor
1301 Clay Street
Oakland, CA 94612

Re:     In re Cathode Ray Tube (CRT) Antitrust Litigation, Master File No. 4:07-cv-
        05944-JST, MDL No. 1917

Your Honor:

        The Indirect Purchaser Plaintiffs (“IPPs”) and defendants Irico Group Corporation
and Irico Display Devices Co., Ltd. (“Irico”) write in response to the Court’s June 7,
2022 Order Re: Trial Dates, ECF No. 6021 (the “Order”).

        The Order required the parties to “meet and confer and jointly submit three trial
dates, in order of preference, that are after the existing March 13, 2023 date.” Order at 1.
The parties propose the following three trial dates, in order of preference:

        1. July 24, 2023
        2. August 14, 2023
        3. September 18, 2023

        Thank you for your time and attention to this matter.

                                      Very truly yours,

                                      /s/ Mario N. Alioto
                                      Mario N. Alioto
                                      Lead Counsel for the Indirect Purchaser Plaintiffs

                                      /s/ John M. Taladay
                                      John M. Taladay
                                      Counsel for Defendants Irico Group Corp. and
                                      Irico Display Devices Co., Ltd.
cc.     All Counsel via ECF
